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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)
                                               ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)

      [PROPOSED] FINAL DEFAULT JUDGMENT ON BEHALF OF ASHTON 30
                   PLAINTIFF IDENTIFIED AT EXHIBIT B
       Upon consideration of the evidence and arguments submitted by Plaintiff identified in

Exhibit B to this Order, plaintiff in Ashton et al. v. Al Qaeda Islamic Army et al., 02-cv-6977

(S.D.N.Y.) (GBD) (SN) (“Ashton”), who is the estate of a victim killed in the terrorist attacks on

September 11, 2001, and the Judgment by Default for liability only against the Islamic Republic

of Iran (“Iran”) entered on 08/26/2015, together with the entire record in this case, it is hereby;

       ORDERED that service of process was effected upon Iran in accordance with 28 U.S.C.

§ 1608(a) for sovereign defendants; and it is further

       ORDERED that final judgment is entered against Iran and on behalf of the Plaintiff in

Ashton, as identified in the attached who is the Personal Representative of the estate of a victim

killed in the terrorist attacks on September 11, 2001, as described in Exhibit B; and it is further

       ORDERED that Plaintiff, on behalf of the estate identified in Exhibit B, is awarded

economic damages as set forth in Exhibit B and as supported by the expert report and analysis

submitted as Exhibit D to the Declaration of James P. Kreindler, Esq.; and it is further

       ORDERED that Plaintiff, on behalf of the estate identified in Exhibit B, is awarded final

damages judgments that include the economic loss listed in Exhibit B, as well as compensatory
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damages for decedents’ pain and suffering in an amount of $2,000,000 per estate, with the final

damages judgment set forth in Exhibit B; and it is further

       ORDERED that the Ashton Plaintiff identified in Exhibits B is awarded prejudgment

interest of 4.96 percent per annum, compounded annually, running from September 11, 2001 until

the date of judgment; and it is further

       ORDERED that Plaintiff identified in Exhibit B may submit an application for punitive

damages, or other damages (to the extent such awards have not previously been ordered), at a later

date consistent with any future rulings made by this Court on this issue; and it is further

       ORDERED that the remaining Ashton Plaintiffs not appearing in Exhibit B may submit in

later stages applications for damages awards, and to the extent they are for solatium or by estates

for compensatory damages for decedents’ pain and suffering from the September 11, 2001 attacks,

they will be approved consistent with those approved herein for other plaintiffs in this action,

including the Plaintiff appearing in Exhibit B

       Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9999 in 03-md-1570 and ECF No. 2108 in 02-cv-06977

Dated: New York, New York                             SO ORDERED:
       ________________, 2024

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                                                      GEORGE B. DANIELS
                                                      United States District Judge




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